






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-03-00030-CR






In re Mary Belton




David Wayne Casey, Jr., Appellant



v.



The State of Texas, Appellee






FROM THE CRIMINAL DISTRICT COURT OF DALLAS COUNTY


NO. F-0036978-SH, HONORABLE JANICE L. WARDER, JUDGE PRESIDING






O R D E R   T O   S H O W   C A U S E


PER CURIAM

This is a contempt proceeding ancillary to David Wayne Casey's appeal from a
judgment of conviction for sexual assault.  The subject of this proceeding is Mary Belton, court
reporter for the Criminal District Court of Dallas County.

The reporter's record was originally due to be filed on February 4, 2003.  On February
24, 2003, the district court ordered the reporter to prepare the record at no cost to appellant.  On
March 19, 2003, this Court notified the reporter that the record was due no later than April 24, 2003. 
On May 27, 2003, this Court ordered the filing of the record no later than June 20, 2003, but did not
correctly name the reporter.  On July 25, 2003, the record still not having been received, this Court
ordered Mary Belton to tender the record for filing in this cause no later than August 22, 2003.  She
failed to tender the record as ordered.

Mary Belton is hereby ordered to appear in person before this Court on the 10th day
of September, 2003, at 8:30 o'clock a.m., in the courtroom of this Court, located in the Price Daniel,
Sr. Building, 209 West 14th Street, City of Austin, Travis County, Texas, then and there to show
cause why she should not be held in contempt and sanctions imposed for her failure to obey the July
25, 2003, order of this Court.  This order to show cause will be withdrawn and the said Mary Belton
will be relieved of her obligation to appear before this Court as above ordered if the Clerk of this
Court receives the reporter's record by September 5, 2003.

It is ordered August 25, 2003.


Before Chief Justice Law, Justices B. A. Smith and Patterson

Do Not Publish


